Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 1 of 10 PageID 879




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


FLORIDA COASTAL SCHOOL OF
LAW,
                                               No. 3:21-cv-721-MMH-JBT
                    Plaintiff,
v.
MIGUEL CARDONA, et al.,
                    Defendants.


      MOTION FOR RECONSIDERATION OF ORDER GRANTING
              DEFENDANTS’ MOTION TO DISMISS

      Florida Coastal School of Law (“FCSL”) seeks reconsideration of this Court’s

July 5, 2022 Order granting Defendants Motion to Dismiss pursuant to Fed. R. Civ.

P. 59(e). See Renfroe v. Nationstar Mortg., LLC, 2022 U.S. Dist. LEXIS 57128, at

*2 (M.D. Fla. Mar. 29, 2022) (construing a motion to reconsider an order granting

dismissal as a motion to alter or amend judgment under Rule 59(e)). The Court’s

Order contains manifest errors of both law and fact, which create dangerous

precedent that effectively insulates the Department of Education from meaningful

judicial review when it acts to cut off vital funding to colleges and universities.

      Additionally, the Department is already using its May 13, 2021 decision and

July 13, 2021 reconsideration decision (collectively, “Decisions”) to grant loan

discharges under its borrower defense to repayment regulations (“BDR”). Earlier

this summer, in a case pending in the Northern District of California, the

Department stated that it intends to grant all pending BDR claims from FCSL
                                           1
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 2 of 10 PageID 880




students based on “strong indicia regarding substantial misconduct.” Sweet, et al.

v. Cardona, et al., 3:19-cv-03674 (N.D. Cal.), ECF # 246 at 6, ECF # 246-1 at 39

(Jun. 22, 2022). The findings in the Decisions are the only possible findings of

misconduct that could support a BDR claim.

      However, based on the Court’s recent dismissal Order, FCSL has no forum

to seek review of these findings, undermining the purpose of the Administrative

Procedure Act. 5 USC 704 (providing review of “final agency action for which there

is no other adequate remedy in court.”).

                                   Argument

      The Court’s ruling rests on an erroneous assumption that barring FCSL from

Title IV, HEA programs based on its failure to provide advertised educational

services and breaches of fiduciary duties are equivalent to a barring FCSL due to a

failure to meet a technical requirement. That is demonstrably not true. The Court’s

rationalization that this is a distinction without a difference is not a reasonable

interpretation of FCSL’s pleadings nor does it fairly and accurately portray the

consequences of the Decisions. Plainly, and without question, the Department’s

findings create real and substantial impediments to FCSL’s continued and future

operations and the ability of its management to obtain employment.

      Moreover, the Department has already demonstrated its intent to use the

findings to create substantial liabilities under the BDR regulations. Thus, FCSL’s

cessation of Title IV programs has not “completely and irrevocably eradicated the



                                           2
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 3 of 10 PageID 881




effects of the [Department’s] alleged violations [of the APA].” Cty. of L.A. v. Davis,

440 U.S. 625, 631 (1979) (emphasis added).

      1. The Court misconstrued FCSL’s pleadings.

      FCSL unambiguously sought an order vacating the Decisions denying

FCSL’s application for reinstatement. ECF # 1 at 57.           However, the Court

improperly read that request for relief out of the Complaint and concluded FCSL

really only sought Title IV reinstatement. ECF # 51 at 10. That is factually and

legally inappropriate. FCSL pled separate and distinct claims for relief, and it pled

factual allegations that support those claims. That is all Rule 8 requires. Fed. R.

Civ. P. 8(a).

      This case presents a starkly different situation than Nyaga v. Ashcroft,

which was based on the “single inquiry” of whether the plaintiff could meet the

technical requirements to obtain a visa. 323 F.3d 906, 913-14 (11th Cir. 2003). It

would be a different situation if INS also determined the plaintiff was ineligible

based on findings that she committed crimes that would preclude her ever from

obtaining a visa in the future. Certainly, in that case, INS’s findings would be

subject to judicial review. If they were not, she could be forever barred from

obtaining a visa, notwithstanding the lawfulness or unlawfulness of INS’s

determination.

      2. The Court misapplied the APA.

      The Order’s reasoning regarding the threat of BDR liabilities misapplies the

APA. The Court posits that because an order vacating the findings in the Decisions

                                          3
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 4 of 10 PageID 882




would “simply require the Department to re-examine [them],” the Department

could, theoretically, still grant BDR claims based on “additional investigation or

examination.” ECF # 15. In other words, because the Department might later assert

a new, lawful basis to grant BDR claims, the Court lacks jurisdiction to decide

whether the current basis is unlawful. That contradicts the APA’s requirement to

review whether the findings the Department did make are supported by the law

and the facts in the record. Kisor v. Wilkie, 139 S. Ct. 2400, 2416 (“the regulatory

interpretation must be one actually made by the agency”) (emphasis added).

      If the Department’s findings are arbitrary and capricious, they “shall” be

vacated. 5 USC 706. The Department does not get a pass because the “underlying

facts and circumstances” might later be used to support a new non-arbitrary and

capricious finding.

      The same goes for the Court’s conclusion that the ABA’s findings might

independently support a BDR claim alleging FCSL did not provide certain

educational services. ECF # 51 at 15-16. FCSL pled facts and introduced expert

testimony establishing that the ABA’s findings are not a sufficient basis to claim

FCSL did not provide educational services. ECF # 1 at 33-39; Decl. of Donald

Polden, ECF # 1-17. Thus, the Court’s conclusion improperly goes to the validity of

FCSL’s claim—not whether the Court has jurisdiction to decide it. See Morrison v.

Amway Corp., 323 F.3d 920, 925. Moreover, the Court clearly recognizes the

Department’s characterization of the ABA’s findings could lead to BDR liabilities,

which defeats any notion that FCSL’s claims are moot.

                                         4
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 5 of 10 PageID 883




      3. The Court misapprehends key facts and mischaracterizes the
         Decisions.

      First, the Court erroneously concluded that FCSL “closed its doors.” ECF #

51 at 20. That is not true. FCSL continues to provide education programs. Decl. of

Peter Goplerud, ECF # 38-1 at 2. And it intends to continue exploring other

educational opportunities and reapply to Title IV in the future. Id. at 2-3. While

FCSL does not currently provide Title IV eligible programs, that does not mean it

does not remain an ongoing business concern. As discussed below, the Decision

presents substantial, if not fatal, roadblocks to those plans.

      Second, FCSL did not cease offering classes as a result of the ABA’s action.

ECF # 51 at 21. The ABA took no adverse action against FCSL. The sole reason

FCSL stopped offering classes was because the Department ended FCSL’s

participation in Title IV, cutting off its primary source of funding. See ECF # 25-2

(April 2, 2021 letter from the ABA explaining that teach out plans were required

based on the Department’s termination of Title IV funding). That is not reasonably

in dispute.

      Finally, the Court mischaracterized the nature of the Decision in stating that

it did not determine that “FCSL engaged in any specific wrongdoing.” ECF # 51 at

21. But the Department found that FCSL breached its fiduciary duties. And it

likewise found that the school did not provide its advertised services to students.

Both of those findings constitute potential violations of Title IV requirements. See

34 CFR 668.82 (standard of conduct); 20 USC 1099c(c)(1)(A) (financial


                                          5
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 6 of 10 PageID 884




responsibility standards); 34 CFR 668.72 (misrepresentations concerning the

nature of an eligible institution’s educational program). It is a manifest error to

conclude that is not a finding of wrongdoing.

      To be clear, FCSL and its stakeholders vehemently deny any allegations of

wrongdoing. It its Complaint and later findings, FCSL provided detailed legal and

factual support demonstrating that it met every conceivable disclosure

requirement with respect to planned transactions. ECF # 1 at 40-49; ECF # 38-2

(June 14, 2019 preacquisition review request, disclosing terms of proposed

transaction). FCSL was completely transparent with the Department and timely,

fully, and truthfully responded to all requests for information.

      The Department’s findings go directly to the integrity of the school and its

owners and executives, and plainly have effects beyond the immediate decision.

Indeed, the Department has used the same findings to bar institutions and

individuals from participating in Title IV programs. See Hestia Educ. Grp., LLC v.

King, 2016 U.S. LEXIS 11070, *19-20 (N.D. Calif. 2016). In other words, the

Department has shown that it can—and indeed likely will—use its Decisions to bar

FCSL and its owners and executives from participating in, or being associated with,

the Title IV programs. Yet, according to the Court’s order, the Decisions are

unreviewable.

      Thus, there is “concrete, imminent reputational harm.” ECF # 51 at 21.

Contrary to the Court’s order, FCSL and its stakeholders face the same harm as the

lawyer in Daily v. Vaught Aircraft Co., 141 F.3d 224 (5th Cir. 1998), the nursing

                                         6
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 7 of 10 PageID 885




professional in Ruehling v. Armstrong, 2014 WL 12617962 (M.D. Fla. Nov. 3,

2014), and the apartment owner in Connell v. Shoemaker, 555 F.2d 483 (5th Cir.

1977). But unlike in those cases, the Department has not rescinded its Decisions.

It remains live and effective.

      In Rueling, for example, the agency rescinded the suspension order. 2014

WL 12617962 at *2. The agency’s refusal to remove an online posting of his

suspension was sufficient to defeat mootness. Id. at *3. Here, the Department’s

website promotes the findings against FCSL and notifies students of BDR rights. 1

      Similarly, in Connell, the court concluded that, even though the agency lifted

the sanction, the stigma of the allegations of racism undercut “whatever such

aspirations he might yet harbor.” 555 F.2d at 487. The Fifth Circuit did not require

the level of certainty in future plans the Court appears to expect here. The fact that

the findings were disparaging was enough to make the obvious inference that it

would create impediments to his future endeavors.

      And in Daily, the court too lacked authority to undo a disbarment that had

already been reinstated. But the court recognized that even the “mere possibility

of adverse collateral consequences is sufficient to preclude a finding of mootness,”

141 F.3d at 228 (quoting Sibron v. New York, 392 U.S. 40, 55 (1968).




1Dept. of Educ., Press Release, available at https://www.ed.gov/news/press-
releases/department-educations-federal-student-aid-denies-reinstatement-
application-profit-law-school
                                          7
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 8 of 10 PageID 886




      There is no doubt that the Department’s findings of wrongdoing create more

than the mere possibility of continuing reputational harm and limitations of

FCSL’s ability to continue as an educational institution.

                                   Conclusion

      For the foregoing reasons, and those stated in Plaintiff’s Response in

Opposition to Defendants’ Motion to Dismiss (ECF # 38), FCSL respectfully asks

this Court to reconsider its Order granting Defendants’ Motion to Dismiss and

enter and Order denying Defendants’ Motion to Dismiss.

                           Statement of compliance

      On July 29, 2022, counsel for FCSL conferred with Department counsel in

good faith via email to resolve the instant Motion. The Department objects to and

disputes FCSL’s request for reconsideration.



      Dated this August 2, 2022.

Respectfully submitted,

 __________________                          /s/ David A. Obuchowicz
 David Burns (Fl. Bar No. 878081)            Steven M. Gombos
 Ashley A. Dodd (Fl. Bar No. 58571)          David A. Obuchowicz
 FERRELLE BURNS                              GOMBOS LEYTON, P.C.
 241 Atlantic Boulevard, Suite 203           11350 Random Hills Road, Suite 400
 Neptune Beach, Florida 32266                Fairfax, Virginia 22030
 Telephone: (904) 372-4177                   Telephone: (703) 934-2660
 Facsimile: (904) 853-6984                   Facsimile: (703) 934-9840
 Email: dburns@ferrelleburns.com             Email: sgombos@glpclaw.com
 Email: adodd@ferrelleburns.com              Email: dobuchowicz@glpclaw.com
 Attorney for Plaintiff                      Attorney for Plaintiff



                                         8
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 9 of 10 PageID 887




                                     9
Case 3:21-cv-00721-MMH-JBT Document 52 Filed 08/02/22 Page 10 of 10 PageID 888




                               Certificate of Service

       I hereby certify that on this 2nd day of August, 2022, the foregoing was filed

 and served via Middle District of Florida Courts E-filing upon all counsel registered

 to receive electronic notifications.


                                               /s/ David A. Obuchowicz
                                               Counsel for Plaintiff




                                          10
